960 F.2d 147
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES OF AMERICA, Plaintiff-Appellee,v.Rodney JENKINS, Defendant-Appellant.
    91-7371.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 6, 1992April 17, 1992
    
      Rodney Jenkins, Appellant Pro Se.  Barry McCoy Tapp, OFFICE OF THE UNITED STATES ATTORNEY, Alexandria, Virginia, for Appellee.
      Before ERVIN, Chief Judge, and MURNAGHAN and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Rodney Jenkins appeals from the district court's order which denied his motion for grand jury statements of two witnesses.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Jenkins, No. CR-87-106-A (E.D. Va.  Oct. 10, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    